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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

 APPLIED MATERIALS, INC.,                           §
                                                    §
                                                    §    CIVIL ACTION NO. 1:17-cv-00519-LY
                       Plaintiff,                   §
                                                    §
 v.                                                 §
                                                    §    JURY TRIAL DEMANDED
 MUTO TECHNOLOGY, INC.                              §
                                                    §
                       Defendant.                   §



                                    ORDER OF DISMISSAL


       On this day the Court considered the Agreed Motion to Dismiss with Prejudice filed by

Plaintiff Applied Materials, Inc. and Defendant Muto Technology, Inc. The Court, after

considering the motion and pleadings herein, finds that the motion should be GRANTED.

       It is, therefore, ORDERED that all claims and causes of action in the above-captioned case

are hereby dismissed with prejudice. This is a final judgment.

       All costs of court are taxed against the party that incurred the expense.

       SIGNED on this                 day of                 , 2019.



                                                     LEE YEAKEL
                                                     UNITED STATE DISTRICT JUDGE
